
ROTHENBERG, J.
The defendant appeals from a withhold of adjudication and order of probation. We affirm.
The defendant argues that the trial court erred in denying his motion for judgment of dismissal and convicting him of attempted robbery where the evidence showed he voluntarily abandoned his attempt to commit the robbery. We find the defendant’s arguments to be unpersuasive. The defendant did not abandon the rob*797bery. Instead, according to the defendant’s own testimony, either the victim started to walk away (under one version of the facts); or, he was hit by another person (under another version of the facts). In either case, the defendant did not voluntarily abandon the robbery. See Carroll v. State, 680 So.2d 1065, 1066 (Fla. 3d DCA 1996) (noting that the law distinguishes between a voluntary abandonment and an involuntary abandonment, and an involuntary abandonment is not a defense).
Affirmed.
